Case: 2:18-cv-00042-HEA Doc. #: 36 Filed: 08/27/19 Page: 1 of 12 PageID #: 409



                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                          NORTHERN DIVISION

SHANNON BENSON,                               )
                                              )
             Plaintiff,                       )
                                              )
      v.                                      )     No. 2:18CV42 HEA
                                              )
PORTFOLIO RECOVERY                            )
ASSOCIATES, LLC,                              )
                                              )
             Defendant.                       )

                  OPINION, MEMORANDUM AND ORDER

      This matter is before the Court on Defendant’s Motion for Summary

Judgment, [Doc. No. 28]. For the reasons set forth below, the motion is granted.

                                    Background

      Plaintiff Shannon Benson claims that efforts made by Defendant Portfolio

Recovery Associates, LLC to collect debt allegedly owed by Benson violated the

Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. Plaintiff alleges that

Defendant, a debt collector, in connection with the collection of a debt engaged in

conduct the natural consequence of which were to harass, oppress, or abuse Plaintiff,

and caused a telephone to ring to engage Plaintiff in telephone conversation

repeatedly or continuously with the intent to annoy, abuse or harass Plaintiff in

violation of FDCPA §§ 1692d and 1692d(5).

                                          1
 Case: 2:18-cv-00042-HEA Doc. #: 36 Filed: 08/27/19 Page: 2 of 12 PageID #: 410



       Defendant seeks summary judgment on Plaintiff's claim, arguing that its

communications with Plaintiff did not violate the FDCPA. In support of its motion,

Defendant claims that Plaintiff has not presented evidence to support her claim. 1

                              Summary Judgment Standard

       “Summary judgment is proper where the evidence, when viewed in a light

most favorable to the non-moving party, indicates that no genuine issue of material

fact exists and that the moving party is entitled to judgment as a matter of

law.” Davison v. City of Minneapolis, Minn., 490 F.3d 648, 654 (8th Cir.

2007); see Fed. R. Civ. P. 56(a). Summary judgment is not appropriate if there are

factual disputes that may affect the outcome of the case under the applicable

substantive law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). An

issue of material fact is genuine if the evidence would allow a reasonable jury to

return a verdict for the non-moving party. Id. “The basic inquiry is whether it is so

one-sided that one party must prevail as a matter of law.” Diesel Machinery, Inc. v.

B.R. Lee Industries, Inc., 418 F.3d 820, 832 (8th Cir. 2005) (internal quotation

marks and citation omitted). The moving party has the initial burden of

demonstrating the absence of a genuine issue of material fact. Torgerson v. City of

Rochester, 643 F.3d 1031, 1042 (8th Cir. 2011) (citation omitted). Once the


1 Defendant also argues that some of the calls in question occurred outside the statute of
limitations for this action. The Court does not reach this argument.

                                                2
Case: 2:18-cv-00042-HEA Doc. #: 36 Filed: 08/27/19 Page: 3 of 12 PageID #: 411



moving party has met its burden, “[t]he nonmovant must do more than simply show

that there is some metaphysical doubt as to the material facts, and must come

forward with specific facts showing that there is a genuine issue for trial.” Id.

(internal quotation marks and citation omitted)

      To survive a motion for summary judgment, the “nonmoving party must

‘substantiate his allegations with sufficient probative evidence [that] would permit a

finding in [his] favor based on more than mere speculation, conjecture, or

fantasy.’” Putman v. Unity Health System, 348 F.3d 732, 733-34 (8th Cir. 2003)

(quoting Wilson v. Int'l Bus. Machs. Corp., 62 F.3d 237, 241 (8th Cir. 1995)). The

nonmoving party may not merely point to unsupported self-serving allegations, but

must substantiate allegations with sufficient probative evidence that would permit a

finding in his or her favor. Wilson, 62 F.3d 237, 241 (8th Cir. 1995). “The mere

existence of a scintilla of evidence in support of the [nonmoving party's] position

will be insufficient; there must be evidence on which the jury could reasonably find

for the [nonmovant].” Anderson, 477 U.S. 242 at 252; Davidson & Associates v.

Jung, 422 F.3d 630, 638 (8th Cir. 2005). Summary Judgment will be granted when,

viewing the evidence in the light most favorable to the nonmoving party and giving

the nonmoving party the benefit of all reasonable inferences, there are no genuine

issues of material fact and the moving party is entitled to judgment as a matter of


                                          3
Case: 2:18-cv-00042-HEA Doc. #: 36 Filed: 08/27/19 Page: 4 of 12 PageID #: 412



law. Samuels v. Kansas City Mo. Sch. Dist., 437 F.3d 797, 801 (8th Cir. 2006).

“Mere allegations, unsupported by specific facts or evidence beyond the nonmoving

party's own conclusions, are insufficient to withstand a motion for summary

judgment.” Thomas v. Corwin, 483 F.3d 516, 526-7(8th Cir. 2007). “Simply

referencing the complaint, or alleging that a fact is otherwise, is insufficient to show

there is a genuine issue for trial.” Kountze ex rel. Hitchcock Foundation v.

Gaines, 2008 WL 2609197 at *3 (8th Cir. 2008).

                                       FDCPA

      To prevail on a claim pursuant to the FDCPA, plaintiff must allege and prove

that “(1) the plaintiff is a ‘consumer’ within the meaning of the statute; (2) the

defendant collecting the debt is a ‘debt collector’ within the meaning of the statute;

[and] (3) the defendant has violated by act or omission a provision of the

FDCPA.” Glackin v. LTD Fin. Servs., L.P., No. 4:13-CV-00717 CEJ, 2013 WL

3984520, at *1 (E.D. Mo. Aug. 1, 2013). The first two elements are not in dispute.

       The FDCPA expressly prohibits many harassing, deceptive, and unfair debt

collection practices, including the use of obscene language or threats of violence,

impersonation of government officials, misrepresentation of a consumer's legal

rights, and simulation of court process. In addition to such specific prohibitions,

the FDCPA in general terms prohibits any harassing, unfair or deceptive collection


                                           4
Case: 2:18-cv-00042-HEA Doc. #: 36 Filed: 08/27/19 Page: 5 of 12 PageID #: 413



practices. This allows courts, where appropriate, to proscribe other improper

conduct which has not been specifically addressed. “[A]lthough the question of

whether conduct harasses, oppresses, or abuses will [ordinarily] be a question for the

jury, ... Congress has indicated its desire for the courts to structure the confines of §

1692d.” Gallagher v. Gurstel, Staloch & Chargo, P.A., 645 F. Supp. 2d 795, 799

(D. Minn. 2009) (quoting Harvey v. Great Seneca Fin. Corp., 453 F.3d 324, 330 (6th

Cir.2006) (internal quotation omitted)). “If a creditor's alleged acts do not have the

natural consequence of harassing, oppressing, or abusing a debtor, courts will

dismiss the claim.” Id.

      “To determine whether a debt collector’s calls amount to harassment,

annoyance or abuse, the volume of calls must be examined along with the pattern in

which they were made and whether or not they were accompanied by oppressive

conduct.” Moore v. CCB Credit Services, Inc., 4:11CV2132 RWS, 2013 WL

211048, at *3 (E.D. Mo. Jan. 18, 2013). “Making legitimate, persistent efforts to

contact a debtor does not violate the FDCPA.” Id. at *4. Even “placing one or two

unanswered calls a day in an unsuccessful effort to reach the debtor, if this effort is

unaccompanied by any oppressive conduct (threatening messages),” is not sufficient

to show an FDCPA violation. Id. at *3.

                        Undisputed Record and Discussion


                                           5
Case: 2:18-cv-00042-HEA Doc. #: 36 Filed: 08/27/19 Page: 6 of 12 PageID #: 414



      Defendant has, in accordance with the Court’s Local Rules, submitted a

Statement of Uncontroverted Material Facts. Although Plaintiff included a

“Counter-Statement of Material Facts” in her memorandum, she failed to note the

disputed paragraph number from Plaintiff’s statement of facts and failed to support

some of her statements with any specific references to admissible evidence in the

record. Mere conclusions and self-serving statements are insufficient. Local Rule

7-401(E) provides:

      Rule 7 - 4.01 Motions and Memoranda.

      (E) A memorandum in support of a motion for summary judgment shall have
      attached a statement of uncontroverted material facts, set forth in a separately
      numbered paragraph for each fact, indicating whether each fact is established
      by the record, and, if so, the appropriate citations. Every memorandum in
      opposition shall include a statement of material facts as to which the party
      contends a genuine issue exists. Those matters in dispute shall be set forth
      with specific references to portions of the record, where available, upon
      which the opposing party relies. The opposing party also shall note for all
      disputed facts the paragraph number from movant’s listing of facts. All
      matters set forth in the statement of the movant shall be deemed admitted for
      purposes of summary judgment unless specifically controverted by the
      opposing party.

      Pursuant to Rule 56 of the Federal Rules of Civil Procedure and Rule

7-401(E) of this Court’s Local Rules, Defendant’s facts may be deemed admitted.

Regardless, Plaintiff’s statements of fact do not create a material fact dispute. First,

many of Plaintiff’s “facts” are legal conclusions or unsupported opinions, for

example: “[Defendant] began its campaign of harassing telephone calls and coercive

                                           6
Case: 2:18-cv-00042-HEA Doc. #: 36 Filed: 08/27/19 Page: 7 of 12 PageID #: 415



collection tactics;” “[Defendant] became aggressive and intrusive;” “[Defendant]

insulted the character and integrity of [Plaintiff] by questioning the truth of her

description of her experience of financial insecurity and joblessness.” Some of

these conclusory statements are based on Defendant’s call recordings and call logs

that Plaintiff offered as exhibits with her motion in opposition. The Court will

consider those exhibits.

      The material facts, therefore, are as follows. Defendant is a debt collector

regulated by the FDCPA. Plaintiff is an individual consumer who incurred the

credit card debt at issue. On December 17, 2015, Plaintiff’s account was “charged

off” and sold to Defendant. Defendant called Plaintiff several times to collect the

debt. Defendant maintains call logs for each account. The call logs for Plaintiff’s

account shows calls from Defendant to Plaintiff on January 18, January 26, February

3, February 9, March 1, May 10, June 5, August 24, and September 13, 2017.

      On the January 18 call, Plaintiff tells Defendant’s employee that she would

like to pay her debt but has no money to do so. The employee asks Plaintiff about

her tax return, and whether she expects to get a return that is large enough to pay the

debt in full. Plaintiff states that she wants to pay the debt in full and mentions that

she knows Defendant can “expunge some of it off.” The employee suggests that

they schedule a payment for February 28, and if Plaintiff’s tax return has not arrived


                                           7
Case: 2:18-cv-00042-HEA Doc. #: 36 Filed: 08/27/19 Page: 8 of 12 PageID #: 416



by February 28, Plaintiff can call and push the payment back. Plaintiff says she

does not use checks but the employee says she can use a debit card, to which

Plaintiff agrees. Plaintiff and the employee discuss a settlement amount which

Plaintiff accepts. Plaintiff again asks what will happen if she doesn’t have the

money in time, and the employee reiterates that she can call and push the payment

date back if needed. When a second employee of Defendant gets on the line to

verify the payment plan, Plaintiff says she feels “real uncomfortable” because she is

not sure if money will be in the account. The second employee again states that

Plaintiff can make changes to the payment date if need be and transfers Plaintiff

back to the first employee. The first employee again explains the date change

option and informs Plaintiff that Defendant will send an “arrangement letter”

immediately and a reminder letter 5 to 7 days before the payment is to be processed.

Plaintiff states that she does not want to give out her debit card information but

wants the arrangement letter sent. The employee explains that she cannot send an

arrangement letter until the payment information is saved. She further explains that

Plaintiff’s account will go back to the “collection floor” and that Plaintiff will

continue to receive calls from Defendant. Plaintiff assents to continued calls at this

time. The employee verifies Plaintiff’s phone number and again states that

someone will follow up with Plaintiff, to which Plaintiff replies, “Please do.”


                                           8
Case: 2:18-cv-00042-HEA Doc. #: 36 Filed: 08/27/19 Page: 9 of 12 PageID #: 417



      Plaintiff argues that the Defendant’s January 18 suggestion that Plaintiff pay

the debt from her anticipated tax return “clearly made Benson uncomfortable

(specifically, Benson said “I’m feeling real real real uncomfortable . . .)” The

recording refutes this assertion. Plaintiff expressed interest in paying the debt “in

full” with her tax return, negotiated a payoff amount with Defendant, and only said

she was getting “real real real uncomfortable” when asked to give her debit card

information because she feared she would not have enough money in her account on

February 28. At no point during the call does the Plaintiff seem distressed, outside

of feeling “uncomfortable” about giving her debit card information. Although

Defendant persistently explained that Plaintiff could change the payment date, when

Plaintiff unequivocally stated that she did not want to give her debit card

information, Defendant acquiesced and ended the call.

      The 1 minute, 22 second February 9 call between Plaintiff and another

employee of Defendant begins with an introduction, exchange of pleasantries, and

the employee’s recitation of standard legal disclaimers. The conversation then

proceeds as follows:

      EMPLOYEE: Miss Benson you have a relatively small balance due of
      $390.17. How I can I work with you on getting this resolved?
      PLAINTIFF: Um, at this time you can’t. I told them that as soon as I get
      ahold of some money because I’m not working…
      EMPLOYEE: Oh boy, how long have you been out of work?

                                          9
Case: 2:18-cv-00042-HEA Doc. #: 36 Filed: 08/27/19 Page: 10 of 12 PageID #: 418



      PLAINTIFF: Since the 31st of December.
      EMPLOYEE: Oh! Payments have not been made since May 1st of
      2015.
      PLAINTIFF: I know when it’s the last time I made a payment. I also
      told them that I plan on making, to settle this debt, and when I can, I
      will let you guys know.
      EMPLOYEE: But since you were working last year, have, exactly have
      you thought about doing your settlement…
      PLAINTIFF: I told you what I plan on doing, so.
      EMPLOYEE: Oh, ma’am, you made a commitment on…
      PLAINTIFF: Bye!
      EMPLOYEE: … your debt.

Plaintiff alleges that Defendant “placed considerable pressure on [Plaintiff] to make

payment despite [Plaintiff’s] explanation she that she was out of work and without

any available funds.” Plaintiff also alleges that Defendant was “condescending”

and “insulted [Plaintiff’s] character and integrity.”

      No reasonable reader of the above conversation could find that it constitutes

harassment, oppression, or abuse. Defendant did not use obscene language,

threaten violence, or say anything untrue. Plaintiff’s merely becoming “upset” by

Defendant’s call does not rise to an actionable claim under the FDCPA, as “[s]ome

inconvenience or embarrassment to the debtor is a natural consequence of debt

collection.” Bieber v. Associated Collection Servs., Inc., 631 F. Supp. 1410, 1417

(D. Kan. 1986).


                                          10
Case: 2:18-cv-00042-HEA Doc. #: 36 Filed: 08/27/19 Page: 11 of 12 PageID #: 419



      Plaintiff has seemingly abandoned her allegation that she verbally told

Defendant to cease communications. Indeed, there is no evidence submitted that

she ever made such a verbal request. Rather, Plaintiff now states that she “hung up

on [Defendant]” at least twice, and that “despite the repeated signal to stop calling . .

. [Defendant] continued to call [Plaintiff], despite having knowledge that the calls

were unwanted.” Section 1692c(c) requires consumers to provide written

notification to debt collectors in order to cease communication. Merely hanging up

on a debt collector does not fulfill this statutory requirement.

      The frequency of Defendant’s calls also fails to rise to the level of harassment

required to constitute a violation of the FDCPA. Although the Complaint alleges

“incessant calls” by Defendant, the undisputed evidence shows that Defendant made

nine calls to Plaintiff in eight months, spaced no less than 6 days apart. No

reasonable jury could find that this volume and frequency of calls, without more,

constitutes harassment. See, e.g. Moore v. CCB Credit Services, Inc., 2013 WL

211048, at *4 (Sixty-five calls to a debtor in a five-month period insufficient to show

FDCPA violation absent evidence of intent to harass.)

      Based on the undisputed evidence, without regard to speculation, conclusion,

or innuendo, no reasonable jury could find Defendant violated the FDCPA.

Plaintiff has failed to substantiate her self-serving allegations with probative


                                           11
Case: 2:18-cv-00042-HEA Doc. #: 36 Filed: 08/27/19 Page: 12 of 12 PageID #: 420



evidence that would permit a finding in her favor. Summary judgment in favor of

Defendant is warranted.

      For the reasons stated above,

      IT IS HEREBY ORDERED that Defendant’s Motion for Summary

Judgment, [Doc. No. 28] is GRANTED.

      A separate judgment in accordance with this Opinion, Memorandum and

Order is entered this same date.

      Dated this 27th day of August, 2019.




                                           HENRY EDWARD AUTREY
                                         UNITED STATES DISTRICT JUDGE




                                        12
